Case 5:21-cv-02281-JLS Document1 Filed 05/19/21 Page 1 of 13

JS 44 (Rev, 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This fom, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS
HELEN SWARTZ, Individually

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, anid Telephone Number) .
David S. Dessen, Dessen, Moses & Rossito, 600 Easton Rd, Willow

Grove, PA 19090, 215.496.2902 & Fuller, Fuller & Assoc., 12000
Biscayne Blvd, N. Miami, FL 33181, 305.891.5199 [PHV pending]

Miami-Dade County, FL

DEFENDANTS

HOMEWOOD SUITES BY HILTON c/b/a HOMEWOOD SUITES
LANCASTER
County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

NOTE:

Atiomeys (if Known)

 

 

II. BASIS OF JURISDICTION (Place an "X" in One Box Only)

01° US. Governnent

Plaintiff

3 Federal Question
(U.S, Government Nota Party)

O 2° U.S. Government
Defendant

4 Diversity
(indicate Citizenship of Parties in tem Ll)

 

IV. NATURE OF SUIT (riuce an “x" in One Box Only)

il.

CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “¥" in One Box for Plainuff
(For Diversity Cases Only) and One Box for Defendant)
PTF DEF PTF DEF
Citizen of This State o1 O 1 Incorporated ov Principal Place o4 04
of Business In This State
Citizen of Another State GO 2 © 2 Incorporated and Principal Place os 05
of Business In Another State
Citizen or Subject of a O03 O 3. Foreign Nation Oo O06

Foreign Country

 

Click here for: Nature of Suit Code Deseription

 

 

 

 

I CONTRACT. TORTS FORFEITURE/PENALTY. BANKRUPTCY OTHER STATL
0 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure 0 422 Appeal 28 USC 158 0 375 False Claims Act
0 120 Marine 0 310 Airplane 0 365 Personal Injury - of Properly 21 USC 881 |O 423 Withdrawal 0 376 Qui Tam (31 USC
O 130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
1 140 Negotiable Instrument Liability 0 367 Health Care/ 1 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PER EY i 0 410 Antitrust
& Enforcement of hudgment Slander Personal Injury 0 820 Copyrights 0 430 Banks and Banking
0 151 Medicare Act 0 330 Federal Employers* Product Liability 0 830 Patent 1 450 Commerce
0 152 Recovery of Defaulted Liability (1 368 Asbestos Personal D835 Patent - Abbreviated O 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application | 01 470 Racketeer Influenced and
(Excludes Veterans) 0) 345 Marine Product Liability O 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR: SOC SECURIVY. 480 Consumer Credit
of Veteran's Benefits 0 350 Motor Vehicle 0 370 Other Fraud 0 710 Fair Labor Standards O 861 HIA (139511) 0 490 Cable/Sat TV
D 160 Stockholders” Suits 0 355 Motor Vehicle O 371 Truth in Lending Act © 862 Black Lung (923) 1 850 Securilies‘Commodities/
6 190 Other Contract Product Liability O 380 Other Personal 0 720 Labor/Management 0 863 DIWC/DIWW (405(2)) Exchange
0 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI O 890 Other Statutory Actions
OD 196 Franchise Injury 0) 385 Property Damage O 740 Railway Labor Act 1 865 RSI (405(g)) O 891 Agricultural Acts

C1 302 Personal Injury -
Medical Malpractice
CIVIL RIGHTS

Product Liability

 

[ REAL PROPERTY

PRISONER PETITIONS

 

0 210 Land Condemnation
O 220 Foreclosure
O 230 Rent Lease & Ejectment

0 440 Other Civil Rights
O 441 Voting
0 442 Employment

Habeas Corpus:
463 Alien Detainee
510 Motions to Vacate

0 240 Torts to Land 0 443 Housing/ Sentence

OF 245 Tort Product Liabilily Accommodations 530 General

O 290 All Other Real Property 0 445 Amer. w/Disabilities - 535 Death Penalty
Employment Other:

OK 446 Amer, w/Disabilities -
Other
0 448 Education

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

QO00 00 008

 

 

O 893 Environmental Matters

11 895 Freedom of Information
Act

0 896 Arbitration

O 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

CO 950 Constitutionalily of

0 751 Family and Medical
Leave Acl

0 790 Other Labor Litigation

6 791 Employee Retirement
Income Security Act

 

FEDERAL TAX SUITS
1 870 Taxes (U.S. Plaintiff
or Defendant)
O 871 IRS—Third Party
26 USC 7609

 

 

IMMIGRATION State Statutes

 

 

(J 462 Naturalization Application
0 465 Other Immigration
Actions

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

xl 2 Removed from
State Court

O 3° Remanded from o4

Original
Appellate Court

Proceeding

Reinstated or O 5 Transferred from © 6 Multidistrict 0 8 Multidistrict
Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

Brief description of cause:

 

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION

Cile the U.S. Civil Statute under which you are filing (Doe not cite jurisdictional statutes wntess diversity):

Title Ill of the Americans with Disabilities Act, 42 USC Sec. 12181, et seq.

Equal access to places of public accommodation for persons with disabilities

DEMAND $ CHECK YES only if demanded in complaint:

 

COMPLAINT: UNDER RULE 23, F.R.Cy.P. JURY DEMAND: Yes  INo
VII. RELATED CASE(S)
IF ANY (See instructions): Uber DOCKET NUMBER

 

DATE

_MRY 7 UT Ul

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT APPLYING IFP

JUDGE MAG, JUDGE

 
Case 5:21-cv-02281-JLS Document1 Filed 05/19/21 Page 2 of 13

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

HELEN SWARTZ, Individually,

 

Plaintiff,
Vv.
Case No.
HOMEWOOD SUITES BY HILTON,
db/a HOMEWOOD SUITES LANCASTER,
Defendant.
COMPLAINT

Plaintiff, HELEN SWARTZ, Individually, on her behalf and on behalf of all other
mobility-impaired individuals similarly-situated, (sometimes referred to as “Plaintiff), hereby
sues the Defendant, HOMEWOOD SUITES BY HILTON, db/a HOMEWOOD SUITES
LANCASTER (sometimes referred to as “Defendant”) for Injunctive Relief, and attorney’s fees,
litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 USC § 12181
et seq. (“ADA”).

1. Plaintiff, HELEN SWARTZ, resides in Miami Beach, Florida, in the County of
Miami-Dade.

Da Defendant’s property, The Homewood Suites Lancaster Hotel, is located at 200
Granite Run Drive, Lancaster, PA, in the County of Lancaster.

Bh Venue is properly located in the Eastern District of Pennsylvania because venue
lies in the judicial district of the property situs. The Defendant’s property is located in and does

business within this judicial district.
Case 5:21-cv-02281-JLS Document1 Filed 05/19/21 Page 3 of 13

4. Pursuant to 28 USC § 1331 and 28 USC § 1343, this Court has been given
original jurisdiction over actions which arise from the Defendant’s violations of Title III of the
Americans with Disabilities Act, 42 USC § 12181 et seq. See, also, 28 USC § 2201 and § 2202.

5. Plaintiff, HELEN SWARTZ is a Florida resident, is sui juris, has multiple
sclerosis and relies on the use of an electric scooter to ambulate, as she is mobility impaired.
She qualifies as a person with disabilities, as defined by the Americans with Disabilities Act.

Helen Swartz was born and raised in New York City and moved to the
Philadelphia area in 1978 to attend graduate school. After completion of her studies, she
founded a business and resided in the area until 2011. She was active in the business
community and has many long-standing relationships that she has maintained throughout the
years. She also had two children during those years, through which she knew many people.

Her elder daughter and granddaughter live in the Lancaster area and she often
meets them, so that they may enjoy cultural activities, dining and shopping. Ms. Swartz lived
in the Lancaster area for many years and has many friends there

Helen Swartz visited the property which forms the basis of this lawsuit from April
24 through April 25, 2021, and has reservations to return to the property on October 14 through
October 15, 2021, to celebrate her daughter’s birthday by dining at a local restaurant, and also to
avail herself of the goods and services offered to the public at the property, if the facilities are
fully accessible and the barriers to access have been corrected. The Plaintiff has encountered
architectural barriers at the subject property, which have impaired her use of the facilities and
the amenities offered, and have endangered her safety at the facilities and her ability to access

the facilities the property has to offer and use the restrooms.
Case 5:21-cv-02281-JLS Document1 Filed 05/19/21 Page 4 of 13

6. The Plaintiff has encountered architectural barriers at the subject property, which
are enumerated in paragraph 10. The barriers to access at the property have endangered her
safety, and adversely affected her ability to use the facilities.

7. Defendant owns, leases, leases to, or operates a place of public accommodation as
defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.
Defendant is responsible for complying with the obligations of the ADA. The place of public
accommodation that the Defendant owns, operates, leases or leases to is known as The
Homewood Suites Lancaster Hotel, and is located at 200 Granite Run Drive, Lancaster, PA
19103, in the County of Lancaster.

8. HELEN SWARTZ has a realistic, credible, existing and continuing threat of
discrimination from the Defendant’s non-compliance with the ADA with respect to this property
as described but not necessarily limited to the allegations in Paragraph 10 of this Complaint.
Plaintiff has reasonable grounds to believe that she will continue to be subjected to
discrimination in violation of the ADA by the Defendant. HELEN SWARTZ desires to visit
The Homewood Suites Lancaster Hotel not only to avail herself of the goods and services
available at the property but to assure herself that this property is in compliance with the ADA so
that she and others similarly-situated will have full and equal enjoyment of the property without
fear of discrimination.

9. The Defendant has discriminated against the individual Plaintiff by denying her
access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages
and/or accommodations of the hotel, as prohibited by 42 USC § 12182 et seq.

10. The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,
Case 5:21-cv-02281-JLS Document1 Filed 05/19/21 Page 5 of 13

1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of
$500,000 or less). A preliminary inspection of The Homewood Suites Lancaster Hotel has
shown that violations exist. These violations which HELEN SWARTZ personally observed or

encountered, and which were verified by an ADA expert, include, but are not limited to:

a. The hotel does not provide the required amount of compliant accessible
guest rooms, and the accessible rooms are not dispersed among the various classes of
accommodations. This is in violation of section 224 of the 2010 Standards for
Accessible Design. 28 CFR §36.304. This denies to Plaintiff the full and equal
opportunity to stay at the subject hotel. 28 CFR §36.302(e)(1)..

b. The accessible features of the facility are not maintained, creating
barriers to access for the Plaintiff, as set forth herein, in violation of 28 CFR §36.211.

c. In the accessible guestroom, #147, the hotel inserted a notice in the door
that is out of reach to a person in a wheelchair. This is in violation of sections 308 &
806 of the 2010 Standards for Accessible Design: 28 CFR §36.302 & §36.304. This
condition showed that the hotel has not trained their staff in how to make reasonable
modifications in policies, practices, or procedures, when the modifications are necessary
to afford goods, services, facilities, privileges, advantages, or accommodations to
individuals with disabilities,

d. In the accessible guestroom, #147, a turning space is not provided in the
kitchenette. This is in violation of section 806.2.5 of the 2010 Standards for Accessible
Design: 28 CFR §36.201, §36.202 & §36.304. This condition denied the plaintiff's
ability to access to turn around in the kitchen once the plaintiff goes to access the
refrigerator or the dishwasher.

€. In the accessible guestroom, #147, the window controls are out of reach
to a person in a wheelchair. This is in violation of sections 309 & 806 of the 2010
Standards for Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This condition
denied the plaintiff's ability to access the window controls independently.

f. In the accessible guestroom, #147, the operable controls for the window
require tight grasping, pinching, or twisting of the wrist. This is in violation of sections
309.4 & 806 of the 2010 Standards for Accessible Design: 28 CFR §36.201, §36.202 &
§36.304. This condition denied the plaintiff's ability to access the window controls
Case 5:21-cv-02281-JLS Document1 Filed 05/19/21 Page 6 of 13

independently.

g. In the accessible guestroom, #147, the closet rod is out of reach to a
person in a wheelchair. This is in violation of section 811 of the 2010 Standards for
Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This condition denied the
plaintiff's ability to hang up her clothes independently.

h. In the accessible guestroom, #147, items in the closet are out of reach to a
person in a wheelchair. This is in violation of section 811 of the 2010 Standards for
Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This condition denied the
plaintiff's ability to access the iron, ironing board and pillows and _ blankets
independently.

1. In the accessible guestroom, #147, the operable part on the bathroom
door requires tight grasping, pinching, or twisting of the wrist. This is in violation of
sections 404.2.7 and 806 of the 2010 Standards for Accessible Design: 28 CFR §36.201,
§36.202 & §36.304. This condition denied the plaintiff's ability to lock the door
independently.

j. In the accessible guestroom, #147, a forward or parallel reach is not
provided to access the HVAC. This is in violation of sections 305 and 806 of the 2010
Standards for Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This condition
denied the plaintiffs ability to access the HVAC independently.

k. In the accessible guestroom, #147, a turning space is not provided to
access the standing lamp. This is in violation of section 806.2.6 of the 2010 Standards
for Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This condition denied the
plaintiff's ability to access the lamp independently.

1. In the accessible guestroom, #147, the shower seat extends too far from
the compartment entry. This is in violation of section 806.2.4 of the 2010 Standards for
Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This condition made it
difficult for the plaintiff to access the folding seat.

m. In guestroom #147, which hotel deemed an accessible guestroom, the
shower spray unit in the roll-in shower does not have an on/off control with a
non-positive shut-off. This is in violation of section 806.2.4 of the 2010 Standards for
Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to
access the facility.
Case 5:21-cv-02281-JLS Document1 Filed 05/19/21 Page 7 of 13

n. In guestroom #147, which hotel deemed an accessible guestroom, the
shower spray unit in the roll-in shower is out of reach to a person in a wheelchair. This
is in violation of section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR
§36.201, §36.202 & §36.304. This condition denied the plaintiff to access the facility.

0. In guestroom #147, which hotel deemed an accessible guestroom, the
mirror above the lavatory is out of reach to a person in a wheelchair. This is in violation
of section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.201,
§36.202 & §36.304. This condition denied the plaintiff to access the facility.

p. In the hotel toilet compartments, the mirrors are out of reach to a person
in a wheelchair. This is in violation of section 603.3 of the 2010 Standards for
Accessible Design. 28 CFR §36.201, §36.202 & §36.304. This condition denied the
Plaintiff to access the facility.

q. In the hotel toilet compartments, the pipes underneath the lavatories are
exposed. This is in violation of section 606.5 of the 2010 Standards for Accessible
Design. 28 CFR §36.304. This condition made it difficult for the Plaintiff to access the
facility.

r. In the hotel toilet compartments, objects are spaced too close to the rear
grab bar. This is in violation of section 609.3 of the 2010 Standards for Accessible
Design. 28 CFR §36.304. This condition made it difficult for the Plaintiff to access the
facility.

S. Accessible seating at the tables and bar inside and outside the hotel are
not provided to a person using a wheelchair. This is in violation of sections 226 and 902
of the 2010 Standards for Accessible Design. This condition denied the Plaintiff access
to any of the tables and bar around the hotel; 28 CFR §36.201, §36.202, §36.304.

t. The pool lift is not properly located. This is in violation of section
1009.2.1 of the 2010 Standards for Accessible Design. This condition denied the
Plaintiff access to use the lift; 28 CFR §36.201, §36.202, §36.304.

u. The pool lift is not capable of unassisted operation from both the deck
and water levels. This is in violation of section 1009.2.7 of the 2010 Standards for
Accessible Design. This condition denied the Plaintiff access to use the lift; 28 CFR
§36.201, §36.202, §36.304.
Case 5:21-cv-02281-JLS Document1 Filed 05/19/21 Page 8 of 13

Vv. The hotel discriminated against the plaintiff for not having an
independent pool lift available for use, thereby denying the plaintiff the ability to use of
the pool, which is available to able individuals. 28 CFR §36.201, §36.202, §36.302 &
$36.304.

11. ~All of the foregoing cited violations are violations of both the 1991 Americans
with Disabilities Act Guidelines (ADAAG) and the 2010 Standards for Accessible Design, as
adopted by the Department of Justice.

12. The discriminatory violations described in Paragraph 10 are not an exclusive list
of the Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of
public accommodation in order to photograph and measure all of the discriminatory acts
violating the ADA and all of the barriers to access. The individual Plaintiff, and all other
individuals similarly-situated, have been denied access to, and have been denied the benefits of
services, programs and activities of the Defendant’s facilities, and have otherwise been
discriminated against and damaged by the Defendant because of the Defendant’s ADA
violations, as set forth above. The individual Plaintiff, and all others similarly-situated will
continue to suffer such discrimination, injury and damage without the immediate relief provided
by the ADA as requested herein. In order to remedy this discriminatory situation, the Plaintiff
requires an inspection of the Defendant’s place of public accommodation in order to determine
all of the areas of non-compliance with the Americans with Disabilities Act.

13. Defendant have discriminated against the individual Plaintiff by denying her
access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations of its place of public accommodation or commercial facility in violation of 42
USC § 12181 et seg. and 28 CFR. 36.302 et seg. Furthermore, the Defendant continue to

discriminate against the Plaintiff, and all those similarly-situated by failing to make reasonable
Case 5:21-cv-02281-JLS Document1 Filed 05/19/21 Page 9 of 13

modifications in policies, practices or procedures, when such modifications are necessary to
afford all offered goods, services, facilities, privileges, advantages or accommodations to
individuals with disabilities; and by failing to take such efforts that may be necessary to ensure
that no individual with a disability is excluded, denied services, segregated or otherwise treated
differently than other individuals because of the absence of auxiliary aids and services.

14. ‘Plaintiff is without adequate remedy at law and is suffering irreparable harm.
Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is
warranted. Furthermore, the public interest would not be disserved by a permanent injunction.
Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and
litigation expenses from the Defendant pursuant to 42 USC § 12205 and 28 CFR 36.505.

15. Defendant is required to remove the existing architectural barriers to the
physically disabled, when such removal is readily achievable for its place of public
accommodation that has existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative,
if there has been an alteration to Defendant’s place of public accommodation since January 26,
1992, then the Defendant is required to ensure to the maximum extent feasible, that the altered
portions of the facility are readily accessible to and useable by individuals with disabilities,
including individuals who use walkers and wheelchairs, 28 CFR 36.402; and finally, if the
Defendant’s facility is one which was designed and constructed for first occupancy subsequent to
January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s facility must be readily
accessible to and useable by individuals with disabilities as defined by the ADA.

16. Notice to Defendant is not required as a result of the Defendant’s failure to cure

the violations by January 26, 1992 (or January 26, 1993, if Defendant have 10 or fewer
Case 5:21-cv-02281-JLS Document 1 Filed 05/19/21 Page 10 of 13

employees and gross receipts of $500,000 or less). All other conditions precedent have been
met by Plaintiff or waived by the Defendant.

17. Pursuant to 42 USC § 12188, this Court is provided with authority to grant
Plaintiff Injunctive Relief, including an order to require the Defendant to alter the The
Homewood Suites Lancaster Hotel to make those facilities readily accessible and useable to the
Plaintiff and all other persons with disabilities as defined by the ADA; or by closing the facility
until such time as the Defendant cure its violations of the ADA. The Order shall further require

the Defendant to maintain the required assessable features on an ongoing basis.

WHEREFORE, Plaintiff respectfully requests:

a. The Court issue a Declaratory Judgment that determines that the
Defendant at the commencement of the subject lawsuit are in violation of Title III of the

Americans with Disabilities Act, 42 USC § 12181 et seq.

b.° Injunctive relief against the Defendant including an order to make all
readily achievable alterations to the facility; or to make such facility readily accessible to
and useable by individuals with disabilities to the extent required by the ADA; and to
require the Defendant to make reasonable modifications in policies, practices or
procedures, when such modifications are necessary to afford all offered goods, services,
facilities, privileges, advantages or accommodations to individuals with disabilities; and
by failing to take such steps that may be necessary to ensure that no individual with a
disability is excluded, denied services, segregated or otherwise treated differently than

other individuals because of the absence of auxiliary aids and services.
Case 5:21-cv-02281-JLS Document1 Filed 05/19/21 Page 11 of 13

c. An award of attorney’s fees, costs and litigation expenses pursuant to 42
USC § 12205.
d. Such other relief as the Court deems just and proper, and/or is allowable

under Title III of the Americans with Disabilities Act.

Dated: May __£(4_, 2021

Respectfully submitted,

(C206 (Ox

David S. Dessen, Esq. (I.D. 17627)
Dessen, Moses & Rossitto

600 Easton Road

Willow Grove, PA 19090
Telephone: 215.496.2902
Facsimile: 215.658.0747
ddessen(@dms-lawyer.com

and

Lawrence A. Fuller, Esq., pro hac vice pending
Fuller, Fuller & Associates, P.A.
12000 Biscayne Boulevard, Suite 502
North Miami, FL 33181

Telephone: 305.891.5199
Facsimile: 305.893.9505

lfuller@fullerfuller.com

 

 

Attorneys for Plaintiff Helen Swartz

10
Case 5:21-cv-02281-JLS Document 1 Filed 05/19/21 Page 12 of 13

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: c/o Lawrence A. Fuller, 12000 Biscayne Blvd., N. Miami, FL 33181

 

Address of Defendant: 12 Swedesford Road, Malvern, PA 19355

 

Homewood Suites, 200 Granite Run Drive, Lancaster, PA 17601

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated: _

 

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. 1s this case related to property included in an earlier numbered suit pending or within one year Yes [] nol]
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ ] No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No

case filed by the same individual?

I certify that, to my knowledge, the within case [is / [2] is not related to any case now pending or within one year previously terminated action in

this court except as noted above.
pate: AA wy (% Coal AQO0 EQ L767t]

Attorney-at-Law / Pro Se Plaintiff Attorney 1D, # (if applicable)

 

 

CIVIL: (Place a V in one category only)
Federal Question Cases: Diversity Jurisdiction Cases:

Indemnity Contract, Marine Contract, and All Other Contracts Insurance Contract and Other Contracts

FELA Airplane Personal Injury
Jones Act-Personal Injury Assault, Defamation

Antitrust Marine Personal Injury

Patent Motor Vehicle Personal Injury

Labor-Management Relations
Civil Rights

Other Personal Injury (Please specify):
Products Liability

Habeas Corpus Products Liability — Asbestos
Securities Act(s) Cases All other Diversity Cases

Social Security Review Cases (Please specify):

DOOOOOOOO *

 

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DOODOOSOOOOOO =

All other Federal Question Cases
(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

l, EP Au © < : DVeEsseal, EX , counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[xt Relief other than monetary damages is sought.

pare: Ma AY (4,262. ( (Gul Oar [Ter

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5/2018)

 
Case 5:21-cv-02281-JLS Document 1 Filed 05/19/21 Page 13 of 13

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

HELEN SWARTZ, Individually,
Vv. CIVIL ACTION NO.
HOMEWOOD SUITES BY HILTON

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the
reverse side of this form.) In the event that a defendant does not agree with the plaintiff regarding
said designation, that defendant shall, with its first appearance, submit to the clerk of court and
serve on the plaintiff and all other parties, a Case Management Track Designation Form specifying
the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. (_)

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by the court.

 

 

(See reverse side of this form for a detailed explanation of special management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. (xX)
MAN (%, tort David S. Dessen Plaintiff
Date Attorney-at-law Attorney for
iS -GS8 -
215-658-1400 ge le rioe Ci ddessen@dms-lawyer.com

 

 

Telephone ~ FAX Number E-Mail Address
